                                       
                                       
                               COURT OF APPEALS
                            TENTH DISTRICT OF TEXAS
                                       
                                 May 28, 2015
                              No. 10-14-00313-CV
                  IN THE INTEREST OF E.M. AND J.M., CHILDREN
                                       
                                       
                        From the 85[th] District Court
                             Brazos County, Texas
                        Trial Court No. 13-001081-CV-85
                                       
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JUDGMENT

	This Court has reviewed the briefs of the parties and the record in this proceeding as relevant to the issues raised and finds no reversible error has been presented.  Accordingly, the trial court's judgment signed on September 24, 2014 is affirmed.
	It is further ordered that the Texas Department of Family and Protective Services is awarded judgment against Jessica Gilliam Makin and Daniel Makin, who are liable jointly and severally, for the appellate costs that were paid, if any, by the Department of Family and Protective Services; and all unpaid appellate court costs, if any, are taxed against Jessica Gilliam Makin and Daniel Makin, jointly and severally.
	A copy of this judgment will be certified by the Clerk of this Court and delivered to the trial court clerk for enforcement.
							PER CURIAM
						SHARRI ROESSLER, CLERK			

						By: ___________________________
							Nita Whitener, Deputy Clerk

